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NOTICE OF APPEARANCE IN A CRIMINAL CASE

CLERK’S OFFICE
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
WASHINGTON, D.C. 20001

UNITED STATES OF AMERICA

vs. Criminal Number XA STS -AS8 Ls

James McNamara
(Defendant)

 

TO: ANGELA CAESAR, CLERK
YOU ARE HEREBY NOTIFIED THAT | APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.

1AM APPEARING IN THIS ACTION AS: (Please check one)

F] cua [=] RETAINED (Ch FEDERAL PUBLIC DEFENDER

i

\ Vv (Signature)

 

PLEASE PRINT THE FOLLOWING INFORMATION:

Thomas M. Breen HOODS 147

(Attorney & Bar ID Number)
Breen & Pugh

 

 

(Firm Name)
53 W. Jackson Blvd.
(Street Address)
Chicago IL 60604
(City) (State) (Zip)

 

312-360-1001

(Telephone Number)

 
